               Case 2:17-cv-01075-TSZ Document 56 Filed 06/19/19 Page 1 of 4

                                                                         Honorable Thomas S. Zilly




                                  UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON AT SEATTLE

                                                      Civil Action No. 17-cv-1075TSZ
  VENICE PI, LLC,
                                                      MOTION TO DISMISS
                               Plaintiff,

       v.
  SCOTT STEELE; and
  MEGAN DEVILLERS,                                    NOTE ON MOTION CALENDAR:
                                                      July 26, 2019
                               Defendants.

            Plaintiff respectfully moves to dismiss the complaint without prejudice pursuant to

Rule 42(a)(2).

CASE POSTURE

            This case was brought with good faith by the copyright holder two years ago.

Notwithstanding Plaintiff’s diligent and repeated efforts to advance prosecution, it was precluded
from doing so by various court orders. In “John Doe” copyright cases of the present type, the Court

previously required a plaintiff to name a defendant once the account name for the IP address is

known, stating that the plaintiff can seek leave to amend later if discovery shows it to be necessary.

E.g., Cobbler v. James, Case No. 15-cv-1430TSZ (January 26, 2016, Dkt. 16); see also Dallas

Buyers Club v. Does, Case No. 15-cv-134RAJ (and others) (Dkt. 48). Requests to conduct more

particularized discovery before naming a defendant were been denied. Plaintiff proceeded in this

fashion, with the understanding that the complaint satisfied all pleading requirements.




PLAINTIFF’S MOTION TO DISMISS - 1
INIP-6-0092P17 MOTDismiss
               Case 2:17-cv-01075-TSZ Document 56 Filed 06/19/19 Page 2 of 4




            Nevertheless, after this action was filed, the Court issued an order precluding Plaintiff from

conducting any discovery while also ordering Plaintiff to provide an offer of proof with respect to

several assertions in the case. (Dkt. 31) Plaintiff responded to this order, and others, and sought

leave to resume the proceedings (e.g., Dkts. 35, 40, 47, 51, 54). Since the time this action was

filed, Plaintiff has not been allowed to conduct discovery beyond the service of a subpoena to

secure the name of the ISP account holder.

            More than a year after the present complaint was filed, the Ninth Circuit issued a decision

which this Court describes as requiring the pleading in the complaint of “something more” to tie

the account holder to the infringing conduct. Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142

(9th Cir. 2018). Plaintiff has not been afforded any opportunity to conduct discovery into such

matters, and believes that in cases of this type a plaintiff should be allowed to gather facts using

Court-sanctioned discovery. In this case, however, given the passage of two years since the filing

of the complaint, Plaintiff believes any meaningful opportunities to obtain such discovery are now

lost. For that reason, and in an effort to conserve judicial and party resources, Plaintiff respectfully

seeks to dismiss the complaint against the remaining Defendants without prejudice pursuant to

Rule 42(a)(2).

DISMISSAL WILL NOT PREJUDICE THE DEFENDANTS

            Consistent with Fed. R. Civ. Proc. 41(a)(2), an action may be dismissed without prejudice

at any time. Stevedoring Servs. of Am. v. Armilla Int’l B.V., 889 F.2d 919, 921 (9th Cir. 1989).

When ruling on a motion to dismiss without prejudice, district courts evaluate whether the

defendant will suffer some plain legal prejudice as a result of the dismissal. Hyde & Drath v. Baker,

24 F.3d 1162, 1169 (9th Cir. 1994). Plain legal prejudice requires more than the prospect of a

second lawsuit or some tactical advantage to the plaintiff. Hamilton v. Firestone Tire & Rubber

Co., 679 F.2d 143, 145 (9th Cir. 1982); see Lau v. Glendora Unified School Dist., 792 F.2d 929

(9th Cir. 1986) (no prejudice where plaintiff dismissed without prejudice to file similar action in




MOTION TO DISMISS - 2
INIP-6-0092P17 MOTDismiss
               Case 2:17-cv-01075-TSZ Document 56 Filed 06/19/19 Page 3 of 4




state court after federal court refused to certify class action). Uncertainty because a dispute remains

unresolved is not legal prejudice. Westlands Water Dist. v. United States, 100 F.3d 94, 97 (9th Cir.

1996) Also, that defendants have incurred expense in litigating the present lawsuit does not amount

to legal prejudice. Hamilton, 679 F.2d at 145. Defendant bears the burden of showing a “prejudice

to some legal interest, some legal claim, some legal argument.” Smith v. Lenches, 263 F.3d 972,

975 (9th Cir. 2001).

            Defendant Steele answered the complaint on October 30, 2017 and denied the allegations.

(Dkt. 30) Defendant DeVillers answered the complaint on November 6, 2017 and denied the

allegations. (Dkt. 32) Neither Defendant is believed to have participated further in the proceedings

since that time. Defendants cannot show that a dismissal without prejudice would result in legal

prejudice.

            Mindful of the foregoing and in an effort to conserve judicial and party resources, pursuant

to Rule 41(a)(2), Plaintiff respectfully seeks dismissal of its claims against the remaining

Defendants without prejudice

RESPECTFULLY SUBMITTED June 19, 2019.
                                                      s/David A. Lowe, WSBA No. 24,453
                                                       Lowe@LoweGrahamJones.com
                                                      LOWE GRAHAM JONESPLLC
                                                      701 Fifth Avenue, Suite 4800
                                                      Seattle, WA 98104
                                                      T: 206.381.3300

                                                      Attorneys for Plaintiff




MOTION TO DISMISS - 3
INIP-6-0092P17 MOTDismiss
               Case 2:17-cv-01075-TSZ Document 56 Filed 06/19/19 Page 4 of 4




                                         CERTIFICATE OF SERVICE

                        The undersigned hereby certifies that a true and correct copy of the
                        foregoing document has been served to all counsel or parties of
                        record who are deemed to have consented to electronic service via
                        the Court’s CM/ECF system, and to the following via U.S. Mail:

                                              Scott Steele
                                              810 105th Street S.
                                              Tacoma, WA 98444

                                              Megan Devillers
                                              P.O. Box 664
                                              South Prairie, WA 98385
                                                                          s/ David A. Lowe




MOTION TO DISMISS - 4
INIP-6-0092P17 MOTDismiss
